      Case 3:19-cv-01340-N Document 1 Filed 06/04/19                 Page 1 of 7 PageID 1


                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                  :
Terry Branch, Pamela Dawson, Mirla                :
Erickson, Ronald Erickson, Darrell Renfroe,       : Civil Action No.: 3:19-cv-1340
and Esque Walker,                                 :
                                                  :
                       Plaintiffs,                :
       v.                                         :
                                                  : COMPLAINT
First Choice Payment Solutions G.P., d/b/a        :
Sekure Merchant Solutions,                        :
                                                  :
                       Defendant.

       For this Complaint, Plaintiffs, Terry Branch, Pamela Dawson, Mirla Erickson, Ronald

Erickson, Darrell Renfroe, and Esque Walker, by undersigned counsel, state as follows:

                                        INTRODUCTION

       1.      Plaintiffs, Terry Branch, Pamela Dawson, Mirla Erickson, Ronald Erickson,

Darrell Renfroe, and Esque Walker (collectively “Plaintiffs”), bring this action for damages

resulting from the illegal actions of First Choice Payment Solutions G.P., d/b/a Sekure Merchant

Solutions (“Sekure” or “Defendant”). Defendant negligently, knowingly, and/or willfully placed

automated and prerecorded/artificial voice calls to Plaintiffs’ cellular phone in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

       2.      Sekure is a telemarketing company that sells payment processing services. In

order to promote its services, Sekure purchases call lists from third parties and operates an

aggressive contact schedule which bombards unsuspecting consumers, with whom it has no

relationship, with robocalls and prerecorded telemarketing calls.

       3.      Plaintiffs are each consumers who were on the receiving end of Sekure’s

telemarketing campaign. None of the Plaintiffs have ever had any business relationship with
      Case 3:19-cv-01340-N Document 1 Filed 06/04/19                   Page 2 of 7 PageID 2


Sekure. None of the Plaintiffs otherwise provided Sekure with permission to call their cellular

telephones. Nonetheless, each of them have been bombarded with automated telemarketing calls

from Sekure.

                                          JURISDICTION

        4.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331.

Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740, 751-53 (2012).

        5.      Sekure regularly engages in business in this District, including making the

telemarketing calls that form the basis of Plaintiffs’ claims, into this District.

        6.      Venue is proper in this District because a substantial part of the events or

omissions giving rise to Plaintiffs’ claims occurred in this District in that Sekure’s automated

calls to the Plaintiffs were made into this District.

                                              PARTIES

        7.      Plaintiff Terry Branch (“Branch”) is, and at all times mentioned herein was, an

adult individual residing in Cedar Hill, Texas, and a “person” as defined by 47 U.S.C. § 153(39).

        8.      Plaintiff Pamela Dawson (“Dawson”) is, and at all times mentioned herein was,

an adult individual residing in Fort Worth, Texas, and a “person” as defined by 47 U.S.C. §

153(39).

        9.      Plaintiff Mirla Erickson (“M. Erickson”) is, and at all times mentioned herein

was, an adult individual residing in Arlington, Texas, and a “person” as defined by 47 U.S.C. §

153(39).

        10.     Plaintiff Ronald Erickson (“R. Erickson”) is, and at all times mentioned herein

was, an adult individual residing in Arlington, Texas, and a “person” as defined by 47 U.S.C. §

153(39).

        11.     Plaintiff Darrell Renfroe (“Renfroe”) is, and at all times mentioned herein was, an

                                                   2
      Case 3:19-cv-01340-N Document 1 Filed 06/04/19                  Page 3 of 7 PageID 3


adult individual residing in Fort Worth, Texas, and a “person” as defined by 47 U.S.C. §

153(39).

        12.     Plaintiff Esque Walker (“Walker”) is, and at all times mentioned herein was, an

adult individual residing in Corsicana, Texas, and a “person” as defined by 47 U.S.C. § 153(39).

        13.     Defendant First Choice Payment Solutions G.P. is a Québec general partnership

doing business as Sekure Merchant Solutions. Sekure’s principal place of business is located at

333-1000 Rue Saint-Antoine O, Montréal, QC H3C 3R7, Canada, but it maintains locations in

the United States, including at 1501 Broadway, 12th Floor, New York, New York, 10036.

Sekure engages in telemarketing directed into the United States nationwide, including

specifically into this District.

        14.     None of the Plaintiffs ever had a business relationship with Sekure and never

consented to be contacted by Sekure on their cellular telephones.

               THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

        15.     The TCPA regulates, among other things, the use of automated telephone dialing

systems.

        16.     47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system (“ATDS”) as

equipment having the capacity –

                (A)   to store or produce telephone numbers to be called, using a
                random or sequential number generator; and

                (B)     to dial such numbers.

        17.     47 U.S.C. § 227(b)(1)(A)(iii) prohibits any call using an ATDS or an artificial or

prerecorded voice to a cellular phone without prior express consent by the person being called.




                                                  3
      Case 3:19-cv-01340-N Document 1 Filed 06/04/19                    Page 4 of 7 PageID 4


                    FACTUAL ALLEGATIONS AS TO ALL PLAINTIFFS

           18.   Sekure has repeatedly placed telemarketing calls using an automatic telephone

dialing system and/or prerecored or artificial voices to Plaintiffs’ cellular telephones.

           19.   Specifically, Sekure called Plaintiff Branch at cellular telephone number 214-xxx-

1369; Sekure called Plaintiff Dawson at cellular telephone number 682-xxx-5730; Sekure called

Plaintiff M. Erickson at cellular telephone number 817-xxx-9163; Sekure called Plaintiff R.

Erickson at cellular telephone number 817-xxx-4901; Sekure called Plaintiff Renfroe at cellular

telephone number 817-xxx-9674; and Sekure called Plaintiff Walker at cellular telephone number

903-xxx-9587.

           20.   Each of the Plaintiffs’ number were and are assigned to a cellular telephone service

as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

           21.   Sekure called the Plaintiffs with the Five9 cloud-based predictive dialer. See

https://www.five9.com/products (Five9 touts its “selection of automatic dialing modes.”) (last

visited June 4, 2019).

           22.   Sekure inserted each of the Plaintiffs’ telephone numbers into the Five9 dialer to

further its telemarketing efforts and attempt to sell its payment processing services.

           23.   Once Plaintiffs’ telephone numbers were stored within the Five9 dialer, the dialer

then dialed Plaintiffs’ cellular telephones without any human intervention.

           24.   At all times mentioned herein, Sekure called Plaintiffs’ cellular telephone using

an “automatic telephone dialing system” (“autodialer”) as defined by 47 U.S.C. § 227(a)(1).

When Plaintiffs answered calls from Sekure, they were often met with a period of silence before

being connected with a live representative. This is indicative of Sekure’s use of a “predictive

dialer.”



                                                    4
      Case 3:19-cv-01340-N Document 1 Filed 06/04/19                   Page 5 of 7 PageID 5


          25.   The Federal Communications Commission has defined ATDS under the TCPA to

include “predictive dialers.” See In the Matter of Rules and Regulations Implementing the

Telephone Consumer Protection Act of 1991, 23 F.C.C.R. 559, at ¶ 12, 2008 WL 65485 (F.C.C.)

(2008).

          26.   In addition, upon information and belief the hardware and software combination

utilized by Sekure has the capacity to store and dial sequentially generated numbers, randomly

generated numbers or numbers from a database of numbers.

          27.   Sekure did not have any of the Plaintiffs’ prior express written consent to place

automated telemarketing calls to Plaintiffs on their cellular telephones.


                                              COUNT I

                Negligent Violations of the Telephone Consumer Protection Act,
                                    47 U.S.C. § 227, ET SEQ.

          28.   Plaintiffs repeat and reallege the above paragraphs of this Complaint and incorporate

them herein by reference.

          29.   Defendant negligently placed multiple automated telemarketing calls to cellular

numbers belonging to Plaintiffs without their prior express written consent.

          30.   Each of the aforementioned calls by Defendant constitutes a negligent violation of

the TCPA.

          31.   Plaintiffs are entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).




                                                   5
      Case 3:19-cv-01340-N Document 1 Filed 06/04/19                  Page 6 of 7 PageID 6


                                             COUNT II


       Knowing and/or Willful Violations of the Telephone Consumer Protection Act,
                                 47 U.S.C. § 227, et seq.

       32.     Plaintiffs repeat and reallege the above paragraphs of this Complaint and incorporate

them herein by reference.

       33.     Defendant knowingly and/or willfully placed multiple automated telemarketing calls

to cellular numbers belonging to Plaintiffs without their prior express written consent.

       34.     Each of the aforementioned calls by Defendant constitutes a knowing and/or willful

violation of the TCPA.

       35.     As a result of Defendant’s knowing and/or willful violations of the TCPA, Plaintiffs

are entitled to an award of treble damages up to $1,500.00 for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that judgment be entered against Defendant:

               A. Statutory damages of $500.00 for each violation determined to be negligent

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

               B. Treble damages for each violation determined to be willful and/or knowing

                   pursuant to 47 U.S.C. § 227(b)(3)(C); and

               C. Such other and further relief as may be just and proper.




                                                  6
     Case 3:19-cv-01340-N Document 1 Filed 06/04/19        Page 7 of 7 PageID 7


                      TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: June 4, 2019
                                   Respectfully submitted,

                                   By /s/ Jody B. Burton

                                   Jody B. Burton, Esq.
                                   CT Bar # 422773
                                   LEMBERG LAW, L.L.C.
                                   43 Danbury Road, 3rd Floor
                                   Wilton, CT 06897
                                   Telephone: (203) 653-2250
                                   Facsimile: (203) 653-3424
                                   E-mail: jburton@lemberglaw.com
                                   Attorneys for Plaintiffs




                                      7
